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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                CRIMINAL ACTION NO. 4:05CR95-P-B


KEVIN MATTHEWS

                                             ORDER

       This cause is before the Court on defendant Kevin Matthews’ Motion to Dismiss [512]. The

Court, having reviewed the motion, the response, the authorities cited and being otherwise fully

advised in the premises, finds as follows, to-wit:

       Defendant Matthews is charged in with conspiracy to possess and distribute cocaine and

cocaine base in Count 1 of a twenty-four count indictment involving some thirty-seven defendants.

He seeks dismissal of the indictment against him on grounds that it is not supported by adequate

evidence. In particular, he avers that the discovery materials provided by the government reveal no

evidence that the defendant ever sold cocaine or cocaine base or that he ever conspired with anyone

to sel cocaine or cocaine base. As a further matter, Matthews posits that the prosecution will be

unable to prove its case through the testimony of government witnesses.

       “An indictment is sufficient if it contains the elements of the offense charged, fairly informs

the defendant what charge he must be prepared to meet, and enables the accused to plead acquittal

or conviction in bar of future prosecutions for the same offense.” United States v. Gordon, 780 F.2d

1165, 1169 (5th Cir. 1986). Ordinarily, the strength or weakness of the government’s case, or the

sufficiency of the government’s evidence to support a charge, is not subject to challenge by way of
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pre-trial motion. United States v. Hall, 20 F.3d 1084, 1087 (10th Cir. 1994). A defendant may not

challenge an indictment, sufficient on its face, on the grounds that the allegations are not supported

by adequate evidence because an indictment returned by a legally constituted and unbiased grand

jury is enough to call for trial of the charge on its merits. United States v. Costello, 350 U.S. 359,

363 (1956).

       In the Fifth Circuit, “the propriety of granting a motion to dismiss an indictment under Rule

12 . . . is by-and-large contingent upon whether the infirmity in the prosecution is essentially one of

law or involves determinations of fact.” United States v. Flores, 404 F.3d 320, 324 (5th Cir. 2005).

Consideration of the motion is generally proper only is it involves a question of law. Id.

       Application of the foregoing principles to the instant case requires a finding that dismissal

of the indictment by way of pre-trial motion would be improper. Weighing evidence and

determining the credibility of witnesses is a jury function. Accordingly, the defendant’s motion is

not well-taken and should be denied.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that Kevin Matthews’ Motion to

Dismiss [512] is not well-taken and should be, and hereby is, DENIED.

       SO ORDERED, this the 22nd day of August, 2006.

                                                       /s/ W. Allen Pepper, Jr.
                                                       W. ALLEN PEPPER, JR.
                                                       UNITED STATES DISTRICT JUDGE
